      Case 4:20-cr-00472 Document 55 Filed on 06/29/21 in TXSD Page 1 of 4




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                             '      CRIMINAL NO. 4:20-CR-00472
                                                     '
       v.                                            '      (Murder in Aid of Racketeering,
                                                     '      18 U.S.C. § 1959(a)(1); Conspiracy
JIMMY VILLALOBOS-GOMEZ,                              '      to Commit Murder in Aid
    a/k/a “Duchi,” a/k/a “Duchy,” and                '      of Racketeering, 18 U.S.C.
                                                     '      § 1959(a)(5); and Aiding and
WALTER ANTONIO CHICAS-GARCIA,                        '      Abetting, 18 U.S.C. § 2)
    a/k/a “Walter”                                   '

      UNOPPOSED MOTION TO EXTEND DEADLINE FOR GOVERNMENT TO
                 PRODUCE DEATH PENALTY DECISION

       COMES NOW the United States of America, by and through its counsel, Jennifer Lowery,

Acting United States Attorney for the Southern District of Texas, John M. Lewis and Britni

Cooper, Assistant United States Attorneys, David L. Jaffe, Chief of the Organized Crime and Gang

Section of the United States Department of Justice, Gerald Collins, Julie Finocchiaro, and Matthew

Hoff, Trial Attorneys, and respectfully requests that the Court grant an extension for the deadline

for the Government to produce a Death Penalty Decision in the above-captioned matter.

       1.      On January 28, 2021, a status conference in this matter was held before the Court.

During the status conference, the Court set several deadlines for the parties to comply with. One

such deadline set was for the Government to have a decision produced to the Court as to whether

or not it was seeking the Death Penalty against the defendants. The Court set that deadline for

April 14, 2021. During the status conference, the Court instructed that additional time for this

particular deadline could be granted upon request from the Government.

       2.      On March 5, 2021, the Court granted an extension of the deadline upon an

unopposed request from the Government. The Court set the new deadline for July 14, 2021.




                                                1
      Case 4:20-cr-00472 Document 55 Filed on 06/29/21 in TXSD Page 2 of 4




       3.      The Government has conferred with its’ Capital Case Section and has been advised

that a decision on whether the Government will seek the Death Penalty against the Defendants in

this matter will not be ready by the Court’s July 14, 2021 deadline. A Capital Case Section attorney

has requested that the Government seek a sixty day extension of the Court’s deadline.

       4.      As a result, the Government is respectfully requesting the Court provide additional

time for a decision as to whether the Death Penalty will be sought against the Defendants in this

case. The Government respectfully asks for the deadline to be rescheduled to September 14, 2021.

       5.      The Government will report to the Court with a decision as soon as it has been made

and will potentially do so in advance of September 14, 2021, should the Court allow this extension.

       6.      Counsel for the United States has transmitted this motion to counsel for each

Defendant prior to filing and counsel for each defendant has indicated they are unopposed to the

Government’s request. A certificate of compliance is attached hereto.

       WHEREFORE, for the reasons above, the Government respectfully requests that the Court

allow the Government additional time to present its’ decision as to whether the Death Penalty will

be sought against the Defendants in this matter.

                                                       Respectfully submitted,

                                                       /s/ John M. Lewis
                                                       John M. Lewis
                                                       Britni Cooper
                                                       Assistant United States Attorneys
                                                       United States Attorney’s Office
                                                       Southern District of Texas, Houston Division

                                                       Gerald Collins
                                                       Julie Finocchiaro
                                                       Matthew Hoff
                                                       Trial Attorneys
                                                       Department of Justice
                                                       Organized Crime and Gang Section

                                                   2
      Case 4:20-cr-00472 Document 55 Filed on 06/29/21 in TXSD Page 3 of 4




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                             '       CRIMINAL NO. 4:20-CR-00472
                                                     '
       v.                                            '       (Murder in Aid of Racketeering,
                                                     '       18 U.S.C. § 1959(a)(1); Conspiracy
JIMMY VILLALOBOS-GOMEZ,                              '       to Commit Murder in Aid
    a/k/a “Duchi,” a/k/a “Duchy,” and                '       of Racketeering, 18 U.S.C.
                                                     '       § 1959(a)(5); and Aiding and
WALTER ANTONIO CHICAS-GARCIA,                        '       Abetting, 18 U.S.C. § 2)
    a/k/a “Walter”                                   '

   ORDER GRANTING AN EXTENSION OF DEADLINE FOR GOVERNMENT TO
                PRODUCE DEATH PENALTY DECISION

       This matter having been put to the Court on the motion of the United States of America,

by and through its counsel, Jennifer Lowery, Acting United States Attorney for the Southern

District of Texas, John M. Lewis and Britni Cooper, Assistant United States Attorneys, David L.

Jaffe, Chief of the Organized Crime and Gang Section of the U.S. Department of Justice, Gerald

Collins, Julie Finocchiaro and Matthew Hoff, Trial Attorneys, for the entry of an order:

GRANTING an extension of the deadline for the Government to produce a decision as to whether

it will seek the Death Penalty against the Defendants in this matter.

       WHEREFORE, it is on this ______ of _____________________, 2021, ORDERED that

for the reasons set forth above, the deadline for the Government to produce a decision as to whether

it will seek the Death Penalty against the Defendants in this cause is hereby extended and;

       IT IS FURTHER ORDERED that on September 14, 2021 the Government will advise the

Court as to whether it intends to seek the Death Penalty against the Defendants in this cause.



                                              _________________________________________
                                              THE HONORABLE KEITH P. ELLISON
                                              UNITED STATES DISTRICT JUDGE

                                                 3
      Case 4:20-cr-00472 Document 55 Filed on 06/29/21 in TXSD Page 4 of 4




                           CERTIFICATE OF CONFERENCE

       The undersigned certifies that he has provided notice to counsel for both Defendants

regarding the above motion. Counsel for both Defendants have indicated they are unopposed to

this motion.



                                                 /s/ John M. Lewis
                                                 John M. Lewis
                                                 Assistant United States Attorney
                                                 United States Attorney’s Office
                                                 Southern District of Texas
                                                 Houston Division




                                             4
